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                                           UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                         Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                             MOTION INFORMATION STATEMENT

       Docket Number(s): ________________________________________                       UNITED STATES V TEMAN

       Motion for: ______________________________________________

       ________________________________________________________

       ________________________________________________________

       Set forth below precise, complete statement of relief sought:




       MOVING PARTY:_______________________________________ OPPOSING
       PARTY:____________________________________________

                 ___Plaintiff                 ___Defendant

                 ___Appellant/Petitioner     ___Appellee/Respondent

       MOVING ATTORNEY:___________________________________ OPPOSING
       ATTORNEY:________________________________________
                                [name of attorney, with firm, address, phone number and e-mail]
       ________________________________________________________ _______________________________________________________________

       ________________________________________________________ _______________________________________________________________

       ________________________________________________________ _______________________________________________________________

       Court- Judge/ Agency appealed from: _________________________________________________________________________________________

       Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                                  INJUCTIONS PENDING APPEAL:
       Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          ___Yes ___No
               ___Yes ___No (explain):__________________________                  Has this relief been previously sought in this court? ___Yes ___No
               _______________________________________________                    Requested return date and explanation of emergency: ________________
                                                                                  _____________________________________________________________
       Opposing counsel’s position on motion:
                                                                                  _____________________________________________________________
                ___Unopposed ___Opposed ___Don’t Know
                                                                                  _____________________________________________________________
       Does opposing counsel intend to file a response:
                                                                                  _____________________________________________________________
                ___Yes ___No ___Don’t Know


       Is oral argument on motion requested?            ___Yes ___No (requests for oral argument will not necessarily be granted)

       Has argument date of appeal been set?            ___ Yes ___No If yes, enter date:_______________________________________________________

       Signature of Moving Attorney:

       _________________________________ Date:__________________ Service by: ___CM/ECF ___Other [Attach proof of service]




       Form T-1080 (rev.12-13)
